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_v_ 04-20391-01-Ma wm mm WH#CM

PATRlclA HENDEFlsoN

Edwin A. Perg¢, FPD
Defense Attorney

200 Jefferson Avenue, Suite 200
Nlemphis, Tennessee 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 6 of the lndictment on March 29, 2005. According|y, the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count

Title & Section Nature of Offense Concluded Number(s)
18 U.S.C. § 1029(a)(2) Fraudu|ent use of access device over 06/12/2003 6
$1,000.00

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the Nlandatory
Victims Fiestitution Act of 1996.

Counts 1 through 5 are dismissed on the motion of the United States.
lT lS FUFtTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of |mposition of Sentence:
Defendant's Date of Birth: 07)'10/1969 Ju|y 01, 2005
Deft’s U.S. Marshal No.: 19888-076

Defendant's l=lesidence Address:
4224 Oxford Square Drive
|V|emphis, TN 38116

J////WL__

SAMUEL H. MAYS, JR.
UN|TED STATES D|STR|CT JUDGE

 

J u|y_ l ‘ ,2005
Thls docl_ment entered on the docket sheet In co plian
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Case No: 04-20391-01-Ma
Defendant Name: Patricia Henderson Page 2 of 4

PROBAT|ON

The defendant is hereby placed on probation for a term of three (3) years.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weaponsl The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitutionl

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful atl inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed or administered;

6. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: Patricia Henderson Page 3 of 4

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12.

13.

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

lf this judgment imposes a fine or a restitution obtigation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|TiONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall participate in the Home Detention program for a period of six (6)
months. During this time, defendant will remain at defendant’s place of residence except
for employment and other activities approved in advance by the Defendant's Probation
Officer. Defendant wiil be subject to the standard conditions of Home Detention adopted for
use in the Western District of Tennessee, which may include the requirement to wear an
electronic monitoring device and to follow electronic monitoring procedures specified by the
Probation Officer. Further, the defendant shall be required to contribute to the costs of
services for such monitoring not to exceed an amount determined reasonable by the
Probation Officer.

2. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or atcohol
dependency which may include testing for the detection of substance use or abuse. Further,
the defendant shail be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Prcbation Officer.

3. Defendant shall continue to participate, as directed, in a program of mental health treatment
approved by the Probation Officer. Further, the defendant shall be required to contribute to
the costs of services for such treatment not to exceed an amount determined reasonable by
the Probation Officer.

4. The defendant shall seek and maintain lawful full-time employment

5. The defendantshall pay restitution in regular monthly installments of not less than 10% other
gross monthly income.

6. ' The defendant shall notify the U.S. Attorney and the Court of any material change in
economic circumstances that may affect defendant’s ability to pay restitution.

7. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Case No: 04-20391-01-Ma
Defendant Name: Patricia Henderson Page 4 of 4

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The interest requirement is
waived. All of the payment options in the Schedule of Payments may be subject to penalties for
default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $14,220.65

The Special Assessment shall be due immediately

FlNE
No fine imposed

REST|TUT|ON

Ftestitution in the amount of $14,220.65 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority Order

 

 

Total Amount Arnount of or Percentege
Neme of Payee of Loss Ftestitution Ordered of Payment
Discover Financia| Services $13,820.65 $13,820.65
Fte: William Phillips and Clendon Savage
Accounts
William Phillips $400.00 $400.00

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority orderorpercentage paymentco|umn
above.

The amount of loss and the amount of restitution ordered will be the same unless1 pursuant
to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is reflected in the
Statement of Fteasons page

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 78 in
case 2:04-CR-20391 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

ENNESSEE

 

Edwin A. Perry

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U.S. ATTORNEY'S OFFICE
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Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

